                               NUMBER 13-24-00409-CR

                                   COURT OF APPEALS

                       THIRTEENTH DISTRICT OF TEXAS

                          CORPUS CHRISTI – EDINBURG


                                IN RE DOUGLAS WATTERS


                 ON PETITION FOR WRIT OF HABEAS CORPUS


                               MEMORANDUM OPINION
      Before Chief Justice Contreras and Justices Tijerina and Peña
               Memorandum Opinion by Justice Tijerina1

        Relator Douglas Watters has filed an application for writ of habeas corpus seeking

bond reduction or release from confinement. According to his application, Watters has

been arrested for murder and his bond has been set at $500,000, but he is unable to post

bail. He contends that his confinement is illegal and requests that he be released from

custody or be allowed bail in a reasonable amount.

        Original habeas jurisdiction in criminal proceedings is limited to the Texas Court of

Criminal Appeals, the district courts, and the county courts. See TEX. CODE CRIM. PROC.



        1 See TEX. R. APP. P. 52.8(d) (“When denying relief, the court may hand down an opinion but is not

required to do so. When granting relief, the court must hand down an opinion as in any other case.”); id. R.
47.4 (distinguishing opinions and memorandum opinions).
ANN. art. 11.05; Ex parte Braswell, 630 S.W.3d 600, 601 (Tex. App.—Waco 2021, orig.

proceeding); In re Quinata, 538 S.W.3d 120, 120 (Tex. App.—El Paso 2017, orig.

proceeding). Therefore, as an intermediate court of appeals, we lack original habeas

jurisdiction in criminal matters. See TEX. GOV’T CODE ANN. § 22.221(d); In re Neal, 653

S.W.3d 346, 346 (Tex. App.—Dallas 2022, orig. proceeding); In re Spriggs, 528 S.W.3d

234, 236 (Tex. App.—Amarillo 2017, orig. proceeding); see also In re Burke, No. 14-23-

00584-CR, 2023 WL 5368180, at *1 (Tex. App.—Houston [14th Dist.] Aug. 22, 2023, orig.

proceeding) (mem. op. per curiam) (not designated for publication) (“Therefore, this court

does not have original habeas corpus jurisdiction over a request to reduce bail in a

criminal case.”). Instead, our jurisdiction in such matters is appellate in nature. See TEX.

GOV’T CODE ANN. § 22.221(d); Dodson v. State, 988 S.W.2d 833, 835 (Tex. App.—San

Antonio 1999, no pet.); Denby v. State, 627 S.W.2d 435, 435 (Tex. App.—Houston [1st

Dist.] 1981, orig. proceeding) (per curiam).

       The Court, having examined and fully considered the application for writ of habeas

corpus and the applicable law, is of the opinion that we lack jurisdiction to issue the

requested relief. See TEX. GOV’T CODE ANN. § 22.221(d); In re Neal, 653 S.W.3d at 346;

In re Spriggs, 528 S.W.3d at 236. Accordingly, we dismiss this original proceeding for

lack of jurisdiction.

                                                                      JAIME TIJERINA
                                                                      Justice

Do not publish.
TEX. R. APP. P. 47.2 (b).

Delivered and filed on the
16th day of August, 2024.



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